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                                 UNITED STATES DISTRICT COURT

                                      DISTRICT OF NEVADA

                                                ***
UNITED STATES OF AMERICA,                        )
                                                 )          3:12-CR-00074-LRH-VPC
                        Plaintiff,               )
v.                                               )
                                                 )          MINUTE ORDER
CATHERINE MARIA RAINS and                        )
ALFONSO ULLOA,                                   )
                                                 )          September 17, 2012
                        Defendants.              )
                                                 )

PRESENT: THE HONORABLE LARRY R. HICKS, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK:           NONE APPEARING                REPORTER: NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                      NONE APPEARING
COUNSEL FOR DEFENDANT(S):                     NONE APPEARING
MINUTE ORDER IN CHAMBERS:

         Before the court are the Government’s Motions for Revocation of Magistrate Judge’s Order for
Pretrial Release (## 7, 14)1 . Defendant Ulloa filed an opposition (#27).

        Given that both Defendants appeared before the Nevada Magistrate Judge on September 4, 2012,
and the Magistrate Judge ruled upon the Defendants’ pretrial release and such ruling superseded the
challenged order, the Government’s motions (##7, 14) are hereby DENIED without prejudice as moot.

       IT IS SO ORDERED.
                                                      LANCE S. WILSON, CLERK

                                                      By:             /s/
                                                                   Deputy Clerk


       1
           Refers to court’s docket number.
